USCA11 Case: 24-10899   Document: 22-1    Date Filed: 08/26/2024   Page: 1 of 3




                                                [DO NOT PUBLISH]
                                 In the
                United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 24-10899
                          Non-Argument Calendar
                         ____________________

       TABITHA MCKENZIE,
                                                   Plaintiﬀ-Appellant,
       versus
       CHIEF JUDGE,
       CASEY T. BARREN,
       Lawyer for DCF,
       LISA TANNER,
       Case Manager,


                                               Defendants-Appellees,
USCA11 Case: 24-10899     Document: 22-1     Date Filed: 08/26/2024   Page: 2 of 3




       2                     Opinion of the Court                24-10899

       BRITTNEY BAXTER,
       Case Manager,


                                                              Defendant.


                           ____________________

                 Appeal from the United States District Court
                     for the Northern District of Florida
                   D.C. Docket No. 4:23-cv-00470-WS-MJF
                          ____________________

       Before ROSENBAUM, BRANCH, and LUCK, Circuit Judges.
       PER CURIAM:
              Tabitha McKenzie filed the instant notice of appeal on
       March 20, 2024, asserting that she seeks review in this Court of
       what she described as a final order or judgment entered on January
       8, 2024. She also described the appealed order but, while we can
       discern that the appealed order is connected to a magistrate judge,
       we cannot discern the full description.
              Because no final order or judgment was entered on January
       8, 2024 and, instead, two magistrate judge orders were signed that
       date, we asked the parties to address which order or orders the no-
       tice of appeal evinces an intent to challenge. We also asked
       whether the appeal was taken from a final or otherwise appealable
       order and whether the appeal is timely. No party responded.
USCA11 Case: 24-10899      Document: 22-1     Date Filed: 08/26/2024     Page: 3 of 3




       24-10899               Opinion of the Court                         3

       However, McKenzie has filed documents on appeal that indicate
       that she challenges the denial of her motion to appoint counsel.
       The magistrate judge originally denied that motion in an order en-
       tered on January 9, 2024, but signed January 8, and the district
       judge later affirmed that order and denied reconsideration on Jan-
       uary 24 and February 5, respectively. After considering temporal
       proximity, the text of the notice of appeal, and McKenzie’s appel-
       late filings, we construe her notice of appeal as challenging the dis-
       trict judge’s January 24 and February 5, 2024 orders concerning her
       motion for appointment of counsel.
              However, those orders are not final because McKenzie’s
       claims remain pending in the district court. See 28 U.S.C. § 1291;
       Supreme Fuels Trading FZE v. Sargeant, 689 F.3d 1244, 1245-46 (11th
       Cir. 2012). Furthermore, the orders are not otherwise immediately
       appealable. See Hodges v. Dep’t of Corr., 895 F.2d 1360, 1361-62 (11th
       Cir. 1990).
              Accordingly, this appeal is DISMISSED for lack of jurisdic-
       tion. All pending motions are DENIED as moot.
